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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 23-21023-CIV-ALTONAGA/Damian

  EDWIN GARRISON, et al.,

         Plaintiffs,
  v.

  KEVIN PAFFRATH, et al.,

        Defendants.
  __________________________/

                                              ORDER

         THIS CAUSE came before the Court upon the Motion to Withdraw of Jason Rindenau,

  Esq. as counsel for Defendant, Ben Armstrong [ECF No. 84]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. Jason Rindenau and

  Jason Rindenau Law, P.A. are permitted to withdraw as counsel for the Defendant, Ben

  Armstrong, and shall have no further obligation in this matter.

         DONE AND ORDERED in Miami, Florida, this 10th day of May, 2023.



                                                 _______________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
